                        United States Court of Appeals
                                    FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                             ____________
No. 23-1064                                                      September Term, 2024
                                                                            FERC-CP21-94-000
                                                                            FERC-CP21-94-001
                                                                            FERC-CP21-94-002
                                                             Filed On: October 17, 2024
New Jersey Conservation Foundation, et al.,

                  Petitioners

         v.

Federal Energy Regulatory Commission,

                  Respondent

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New Jersey Division of Rate Counsel, et al.,
                  Intervenors
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Consolidated with 23-1074, 23-1077,
23-1129, 23-1130, 23-1137


         BEFORE:           Srinivasan, Chief Judge; Henderson*, Millett, Pillard, Wilkins,
                           Katsas, Rao, Walker, Childs, Pan, and Garcia, Circuit Judges

                                                ORDER

       Upon consideration of the motions for invitation to file a brief as amici curiae in
support of intervenor’s petition for panel rehearing and rehearing en banc, and the lodged
briefs amici curiae, it is

       ORDERED that the motions be granted. The Clerk is directed to file the lodged
amici briefs.

                                               Per Curiam


                                                               FOR THE COURT:
                                                               Mark J. Langer, Clerk

                                                       BY:     /s/
                                                               Daniel J. Reidy
                                                               Deputy Clerk




* Circuit Judge Henderson did not participate in this matter.
